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lN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION AT MEMPHIS

Page|D 66

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w.M. BARR & CoMPANY, INC.
Plaimirf,

VS.

NORTH AMERICAN CAPACITY INSURANCE
COMPANY, AS SUCCESSOR IN INTEREST TO
UNDERWRITERS INSURANCE CO AS TO
POLICY NUMBER BCG000432

Defendant-Third Party Plaintiff,

vs.

LEXINGTON INSURANCE COMPANY

Third-Party Defendant.

"/W\./VVV\-/\_i\_/\_¢\./VVV\-/\_HV\_/

No. 03-2969BA

 

CERTIFICATE OF CONSULTATION

 

The undersigned certifies that he has communicated by electronic mail with counsel of

record for all parties in this matter and consulted With them about this Motion, in compliance

with Rule 7 of the Local Rules of this Court. They expressed no opposition to the Motion.

Respectfully submitted, this the 2 f day of

This document entered on the docket s$et ln compliance
'O

: with Ru!e 58 and/or 79(3) FHCP on 5 ’

, 2005.

LJ(O

Case 2:03-cV-02969-.]DB-STA Document 46 Filed 05/02/05 Page 2 of 3 Page|D 67

 

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CERTIFICATE OF SERVICE

hereby certify that a true and correct copy of the foregoing has been served upon the
'J_sted attomey of record via United States mail, postage prepaid, this the z_day of

  
 

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F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:03-CV-02969 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

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Honorable .l. Breen
US DISTRICT COURT

